                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   Civil Action No.: 1:24-cv-00710-LCB-JLW



 UNITED STATES OF AMERICA; STATE
 OF NORTH CAROLINA; STATE OF
 CALIFORNIA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF
 ILLINOIS; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF
 MINNESOTA; STATE OF OREGON;
 STATE OF TENNESSEE; and STATE OF
 WASHINGTON,
                                                    DEFENDANT REALPAGE, INC.’S
        Plaintiffs,
                                                     MOTION TO DISMISS UNDER
                                                      FEDERAL RULE OF CIVIL
        v.
                                                        PROCEDURE 12(b)(6)
 REALPAGE, INC.; CAMDEN
                                                    ORAL ARGUMENT REQUESTED
 PROPERTY TRUST; CORTLAND
 MANAGEMENT, LLC; CUSHMAN &
 WAKEFIELD, INC.; GREYSTAR REAL
 ESTATE PARTNERS, LLC; LIVCOR,
 LLC; PINNACLE PROPERTY
 MANAGEMENT SERVICES, LLC; and
 WILLOW BRIDGE PROPERTY
 COMPANY, LLC,

        Defendants.


       Defendant RealPage, Inc. (“RealPage”) moves the Court to dismiss Plaintiffs’

Amended Complaint with prejudice under Rule 12(b)(6) of the Federal Rules of Civil

Procedure for failure to state a claim upon which relief can be granted.

       As more fully set forth in RealPage’s accompanying brief, the grounds for this

Motion are as follows:




    Case 1:24-cv-00710-LCB-JLW         Document 73       Filed 02/04/25    Page 1 of 3
      1.     The Court should dismiss Plaintiffs’ claims under Sherman Act § 1 because

the Amended Complaint fails to plead anticompetitive effects in a relevant market.

      2.     The Court should dismiss Plaintiffs’ claims under Sherman Act § 2 because

the Amended Complaint fails to plead that RealPage has engaged in exclusionary

conduct, has actual or dangerously probable monopoly power in a relevant market, and

specifically intended to monopolize a relevant market.

      3.     The Court should dismiss Plaintiffs’ state-law claims because they are

based on the same conduct, and governed by the same standards, as their Sherman Act

claims, and therefore fail for the same reasons as their Sherman Act claims.

      WHEREFORE, RealPage respectfully moves the Court to dismiss Plaintiffs’

Amended Complaint with prejudice.

      Respectfully submitted this 4th day of February 2025.

                                              /s/ Adam K. Doerr
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                                           -2-


    Case 1:24-cv-00710-LCB-JLW         Document 73       Filed 02/04/25   Page 2 of 3
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                                       -3-


   Case 1:24-cv-00710-LCB-JLW      Document 73     Filed 02/04/25   Page 3 of 3
